      Case 4:21-cr-00028-RGE-SHL Document 15 Filed 04/11/22 Page 1 of 5




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF IOWA

                                        )
UNITED STATES OF AMERICA,               )       Criminal No. 4:21-CR-00028
                                        )
             v.                         )       GOVERNMENT’S MOTION TO
                                        )       AUTHORIZE ALTERNATE VICTIM
FERNANDO PASSOS,                        )       NOTIFICATION PROCEDURES
                                        )
                                        )       FILED UNDER SEAL
             Defendant.                 )
                                        )

      Pursuant to 18 U.S.C. § 3771(d)(2), the United States of America respectfully

moves for authorization to use alternative victim notification procedures — namely,

publication on a Department of Justice website — because there are a large number

of potential crime victims in this case, making it impracticable to notify them on an

individualized basis. In support of its motion, the Government states the following:

      On November 16, 2021, the Defendant was charged in a Superseding

Indictment with one count of securities fraud, in violation of 15 U.S.C. §§ 78j(b) &

78ff and 17 C.F.R. § 240.10b-5, and three counts of wire fraud, in violation of 18

U.S.C. § 1343. The charges stem from the Defendant’s alleged role in a scheme to

fraudulently prop up the stock price of IRB Brasil Resseguros SA a/k/a IRB Brasil RE

(“IRB”) by spreading false information regarding a purported investment in IRB by

U.S. investment firm, Berkshire Hathaway (the “Scheme”). Specifically, in early

February 2020, IRB, a publicly traded reinsurance company based in Brazil, was

the subject of a short report questioning its accounting practices. After the report’s

issuance, IRB’s stock dropped. In response, the Defendant, as alleged in the



                                            1
      Case 4:21-cr-00028-RGE-SHL Document 15 Filed 04/11/22 Page 2 of 5




Superseding Indictment, executed a scheme wherein he spread materially false

information that Berkshire Hathaway had invested in IRB. On the evening of

March 3, 2020, Berkshire Hathaway issued a press release stating it had never

been an IRB shareholder and had no intention of being one in the future. On March

4, 2020, IRB’s stock price dropped, causing losses to shareholders.

      The Crime Victims’ Rights Act (“CVRA”), 18 U.S.C. § 3771, provides crime

victims with certain rights, including the right to “reasonable, accurate, and timely

notice” of public court proceedings. 18 U.S.C. § 3771(a). A “crime victim” is defined

as “a person directly or proximately harmed as a result of the commission of a

Federal offense.” 18 U.S.C. § 3771(e). In a case involving “multiple crime victims”

where the court “finds that the number of crime victims makes it impracticable to

accord all of the crime victims the rights described in [18 U.S.C. § 3771](a), the

Court shall fashion a reasonable procedure to give effect to this chapter that does

not unduly complicate or prolong the proceedings.” 18 U.S.C. § 3771(d)(2).

      The evidence developed to date indicates that the Defendant’s alleged

criminal activity may have affected thousands of shareholders—all potential

victims—who traded IRB securities in the wake of the revelation of the Scheme, and

in particular IRB shareholders who sold stock on March 4, 2020. Given the number

of potential crime victims, this case involves “multiple crime victims” under 18

U.S.C. § 3771(d)(2) because it is impracticable for the Government to, among other

things, identify and provide individualized notice to each and every potential crime




                                           2
      Case 4:21-cr-00028-RGE-SHL Document 15 Filed 04/11/22 Page 3 of 5




victim pursuant to 18 U.S.C. § 3771(a). In addition, many of the affected

shareholders appear to be residents of foreign countries.

      As an alternative procedure to notify potential crime victims in this case, the

Government proposes that it maintain a public Department of Justice website. The

website would provide a summary of the case, information regarding the case’s

status, and other significant case-related documents. The website also would

contain an e-mail address and telephone number for a Victim Assistance Line

through which individual potential crime victims could contact the Department of

Justice with questions regarding the case. A draft of the proposed website content

is attached as Exhibit A to this motion; the content to be published will be

substantially similar to the draft. See Attachment A.

      Courts have authorized the use of a website by the Government to notify

potential crime victims under the CVRA in other complex fraud cases that involved

many potential victims. See United States v. Elbaz, 18-CR-157-TDC, Dkt. No. 89 (D.

Md. Nov. 5, 2018) (granting motion to permit victim notification through the use of

a website in a case involving an alleged conspiracy to defraud investors in binary

options); see also United States v. Babich, No. CR 16-10343-ADB, 2017 WL 8180771,

at *3 (D. Mass. Aug. 8, 2017) (finding alternative victim notification procedures

appropriate, including the use of websites, in a fraud case where the government

“had positively identified approximately 30 victims and potentially there were

thousands of victims”); United States v. Citicorp, No. 3:15-cv-78 (SRU), 2015 WL

5595482, at *1 (D. Conn. Sept. 22, 2015) (permitting victim notification through a



                                          3
      Case 4:21-cr-00028-RGE-SHL Document 15 Filed 04/11/22 Page 4 of 5




Department of Justice website and through letters to lead counsel for plaintiffs in

private civil litigations); United States v. Madoff, No. 08 Mag. 2735, slip op. at 1-3

(S.D.N.Y. Mar. 6, 2009) (permitting the government to satisfy the CVRA by posting

notices about scheduled public proceedings on the U.S. Attorney’s Office website

and by having the court-appointed trustee include a link to the U.S. Attorney’s

Office website on the trustee’s own website); United States v. Saltsman, No. 07-CR-

641 (NGG), 2007 WL 4232985, at *2 (E.D.N.Y. Nov. 27, 2007) (“Given the large

number of potential alleged crime victims, notification by publication [on the U.S.

Attorney’s Office website or a Department of Justice website] is a reasonable

procedure that will both give effect to the [statute] and will not unduly complicate

or prolong the proceedings.”).

      WHEREFORE, the Government respectfully requests that, under 18 U.S.C. §

3771(d)(2), the Court authorize the Government to use a website as a reasonable

alternative procedure for notifying potential crime victims in this case.

                                         Respectfully submitted,

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                                           4
       Case 4:21-cr-00028-RGE-SHL Document 15 Filed 04/11/22 Page 5 of 5




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CERTIFICATE OF SERVICE

I hereby certify that on April 11, 2022, I
electronically filed the foregoing with the
Clerk of Court using the CM ECF system. I hereby
certify that a copy of this document was served
on attorneys of record by:

     U.S. Mail       Fax      Hand Delivery

 X   ECF/Electronic filing   _ Other means (US Mail to BOP address)



By: /s/ Kate T. McCarthy
     Trial Attorney




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